                       Case 1:17-cv-11008-MLW Document 2 Filed 05/31/17 Page 1 of 1
2 AO 120 (Rev. 3/04)
                             Mail Stop 8                                                   REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                         FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                          ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                               TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
            filed in the U.S. District Court         of Massachusetts            on the following     ✔ Patents or
                                                                                                      G                   G Trademarks:
DOCKET NO.                       DATE FILED                      U.S. DISTRICT COURT
                                               5/31/2017                                       of Massachusetts
PLAINTIFF                                                                 DEFENDANT
    Janssen Biotech, Inc.                                                  Celltrion Healthcare Co. Ltd., Celltrion, Inc., and Hospira,
                                                                           Inc.


        PATENT OR                      DATE OF PATENT
                                                                                    HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1     7,598,083                            10/6/2009               Janssen Biotech, Inc.

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                    In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                    INCLUDED BY
                                                   G Amendment              G Answer           G Cross Bill          G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                    HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                    In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                      (BY) DEPUTY CLERK                                          DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
